IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION

Belmont University, )

Plaintiff, §
v. § Civil Action No. 3:11-cv-00861
Pennsylvania Manufacturers’ Indemnity §
Company d/b/a PMA Insurance Group )
Defendants. §

MEDIATOR’S REPORT TO THE COURT

l. Did all required parties attend the conference? YES
2. Was the case settled at the conclusion of the conference? YES
3. Was the mediation continued With the consent of the parties? NO
4. Was the mediation terminated Without a settlement? NO

5. Case Was settled With the assistance of the mediator approximately

one month after the mediation conference

I..C Waddey, Jr
Mediator
August 6, 2012

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